Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 1 of 23 PageID #: 3469

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 1    UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
 2    ------------------------------x
                                               15-CR-95(WFK)
 3    UNITED STATES OF AMERICA,
                                               United States Courthouse
 4                Plaintiff,                   Brooklyn, New York

 5                -against-                    September 12, 2019
                                               10:00 a.m.
 6    DILKHAYOT KASIMOV,

 7                Defendant.

 8    ------------------------------x

 9          TRANSCRIPT OF CRIMINAL CAUSE FOR PRETRIAL CONFERENCE
                 BEFORE THE HONORABLE WILLIAM F. KUNTZ, II
10                      UNITED STATES DISTRICT JUDGE

11    APPEARANCES

12    For the Government:          UNITED STATES ATTORNEY'S OFFICE
                                   Eastern District of New York
13                                 271 Cadman Plaza East
                                   Brooklyn, New York 11201
14                                 BY: DOUGLAS M. PRAVDA
                                        DAVID K. KESSLER
15                                      MATTHEW HAGGANS
                                   Assistant United States Attorneys
16
      For the Defendant:           ELIZABETH E. MACEDONIO, P.C.
17                                 40 Fulton Street - 23rd Floor
                                   New York, New York 10038
18                                 BY: ELIZABETH E. MACEDONIO, ESQ.

19                                 KELLEY J. SHARKEY
                                   26 Court Street - Suite 2805
20                                 Brooklyn, New York 11242
                                   BY: KELLEY J. SHARKEY, ESQ.
21

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23

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25

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 2 of 23 PageID #: 3470
                                    PROCEEDINGS                           2

 1                                  LORD & SCHEWEL
                                    233 Broadway - Suite 2220
 2                                  New York, New York 10279
                                    BY: ABRAHAM RUBERT-SCHEWEL, ESQ.
 3

 4
      Also Present:                 SANJAR BADADJANOV, INTERPRETER
 5
      Court Reporter:               LINDA D. DANELCZYK, RPR, CSR, CCR
 6                                  Phone: 718-613-2330
                                    Email: LindaDan226@gmail.com
 7

 8    Proceedings recorded by mechanical stenography.           Transcript
      produced by computer-aided transcription.
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10                            *     *     *     *     *

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12

13                (In open court.)

14                THE COURTROOM DEPUTY:       All rise.

15                The Honorable William F. Kuntz, II is now presiding.

16                Criminal cause for pretrial conference, Docket

17    Number 15-CR-95, U.S.A. versus Kasimov.

18                Counsel, please state your appearances for the

19    record; spell your first and your last names for the court

20    reporter, including the Uzbek previously-sworn interpreter.

21                MR. PRAVDA:     Good afternoon, Your Honor.      Doug

22    Pravda, David Kessler and Matthew Haggans.           That D-O-U-G

23    P-R-A-V-D-A; David Kessler, D-A-V-I-D, K-E-S-S-L-E-R; and

24    Matthew Haggans, M-A-T-T-H-E-W, H-A-G-G-A-N-S.

25                (Defendant enters the courtroom.)

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 3 of 23 PageID #: 3471
                                    PROCEEDINGS                           3

 1                THE COURT:    Good afternoon.     Please be seated,

 2    gentlemen.

 3                Ladies and gentlemen of the public, please be seated

 4    as well.

 5                MS. MACEDONIO:     Good afternoon, Your Honor.

 6    Elizabeth Macedonio for Mr. Kasimov; E-L-I-Z-A-B-E-T-H,

 7    M-A-C-E-D-O-N-I-O.

 8                Mr. Kasimov is present at the table.

 9                Ms. Sharkey just stepped out, she'll be right back.

10    And we also have.

11                MR. RUBERT-SCHEWEL:      Good afternoon, Your Honor.

12    Abraham Rubert-Schewel; A-B-R-A-H-A-M, R-U-B-E-R-T, hyphen,

13    S-C-H-E-W-E-L.

14                THE COURT:    Good afternoon.     Please be seated.

15    Thank you.

16                And the interpreter's present again.

17                Would you state your name, sir, and spell it for the

18    court reporter.     State your name and spell it.

19                THE INTERPRETER:     Sanjar Badadjanov.      S-A-N-J-A-R

20    B-A-D-A-D-J-A-N-O-V.

21                THE COURT:    Thank you.

22                The delay today was occasioned, in part, by the fact

23    that the Court has been working with my law clerks on a

24    decision and order.

25                I'm going to read the decision and order, item 401,

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 4 of 23 PageID #: 3472
                                    PROCEEDINGS                            4

 1    and you'll be provided with copies of it by my courtroom

 2    deputy after I read it.

 3                Quote, after due consideration of all relevant

 4    submissions in evidence, the Court hereby denies in its

 5    entirety defendant's motion to disclose and to suppress

 6    evidence obtained pursuant to the Foreign Intelligence

 7    Surveillance Act, paren, ECF number 336, close paren.            A

 8    memorandum of decision explaining the Court's reasoning will

 9    follow as soon as is practicable.        So ordered.     Signed by me

10    today.

11                Mr. Jackson will give you copies of this decision

12    and order 401 now.      Please hand it to counsel, and we hope to

13    have that decision filed for you on ECF certainly within the

14    next 24 hours, but I wanted you to know where we had come out

15    on that.

16                All right, second point is, I spoke with the

17    marshals after yesterday's conference, and they have asked me

18    to direct, and I agreed to do it, that the review of whatever

19    Giglio 3500 materials or Brady materials you're going to see

20    now to review them down in the holding cell area with counsel

21    where you have desks and you will certainly have accessibility

22    to your client.

23                As you may recall yesterday, I said it was up to

24    defense counsel, prosecution, the marshals, and the Court with

25    respect to whether you would be reviewing the materials here

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 5 of 23 PageID #: 3473
                                    PROCEEDINGS                           5

 1    in this courtroom or in the secured facility.

 2                After speaking with Mr. Juan Tavares, who came to my

 3    chambers the other day, he said that from a security point of

 4    view, it made a material difference to the marshal service to

 5    have the review conducted with counsel present obviously

 6    downstairs, and so that's where you will be conducting the

 7    review of the documents.       So I just wanted to make those two

 8    points.

 9                Now other items -- yes.

10                MS. SHARKEY:    Judge, I just wanted to let you know I

11    was downstairs with Marshal Tavares, and it's terrific.            It's

12    all set up.    It's good to go.

13                THE COURT:    He's a very good man.      He came to see me

14    yesterday, and he assured me there would be no adverse impact

15    on the review process, and I assured him that if there was I

16    would be hearing from Mss. Macedonio and Sharkey.           So I'm glad

17    to hear that he was a man of his word because I know if

18    there's a problem, you'll let me know.

19                MS. SHARKEY:    Judge, Mr. Kasimov would like to waive

20    his appearance for the rest of this appearance so he can go

21    and begin that.

22                Our paralegal, who you authorized yesterday, is down

23    there wired up.     It's on the screen.

24                THE COURT:    Well, I don't know how much more we have

25    to do today.

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 6 of 23 PageID #: 3474
                                    PROCEEDINGS                           6

 1                MS. SHARKEY:    Okay.

 2                THE COURT:    So it may be that we won't be in this

 3    space, any of us, much longer today --

 4                MS. SHARKEY:    Okay.

 5                THE COURT:    -- unless there's more to discuss.

 6                So let me turn it over to the government now.          What

 7    are your open issues, counsel, that we need to address today?

 8                MR. PRAVDA:    Your Honor, I think that one -- we have

 9    a few issues.     I don't think it will take us long.

10                One is with respect to the jury selection.

11                THE COURT:    Yes.

12                MR. PRAVDA:    The Court had inquired our views

13    regarding certain emails from the coordinator.

14                THE COURT:    I'm sorry, can you say that again, I

15    missed that?

16                MR. PRAVDA:    Your Honor, the Court had --

17                THE COURT:    Yes, see that magic light, it makes all

18    the difference.     Go ahead.

19                MR. PRAVDA:    The Court had inquired or requested the

20    parties to review an email from the jury coordinator.

21                THE COURT:    Yes.

22                MR. PRAVDA:    And be prepared to discuss jury

23    selection.

24                THE COURT:    Yes.

25                MR. PRAVDA:    So the parties have largely agreed on

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 7 of 23 PageID #: 3475
                                    PROCEEDINGS                           7

 1    the scope of the questionnaire.

 2                THE COURT:    Okay.

 3                MR. PRAVDA:    There's one question the defense would

 4    like to add that the government objects to.

 5                THE COURT:    What question is that?

 6                MR. RUBERT-SCHEWEL:      I can read the question.

 7                The question, Your Honor, was in our original

 8    submission.    It is:    Do you personally know anyone who was

 9    killed or injured as a result of a terrorist attack in the

10    United States or elsewhere?

11                THE COURT:    Why do you want to ask that question?

12                MR. RUBERT-SCHEWEL:      Your Honor, we believe it is

13    certainly a relevant question to determine whether or not any

14    members of the jury would be prejudiced or --

15                THE COURT:    Why would it be relevant if someone was

16    killed in Oklahoma City in this case?

17                Why would it be relevant if someone was killed by

18    the Ku Klux Klan in this case?

19                MR. RUBERT-SCHEWEL:      The question specifically says:

20    Do you personally know anyone.

21                THE COURT:    Yes, if my brother was killed in the

22    Oklahoma City bombing, why is that relevant in this case?

23                The question is absurdly overbroad.        Also as a

24    terrorist, go back to the founding of this republic and there

25    are people who know people who were killed.          All right?    So

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 8 of 23 PageID #: 3476
                                    PROCEEDINGS                           8

 1    I'm not going to allow that question.

 2                MR. RUBERT-SCHEWEL:      Okay.

 3                THE COURT:    What else?

 4                MR. PRAVDA:    I guess the parties discussed this

 5    ahead of time, and we were just wondering how the Court

 6    envisioned this working with the Court's usual jury selection

 7    practice?    Because obviously the usual selection practice was

 8    not involved, the questionnaire, and we were wondering what

 9    the Court was thinking?

10                THE COURT:    In what regard are you asking the

11    question.    I don't really understand the question.

12                MR. PRAVDA:    So --

13                THE COURT:    Give me an example as to how you think

14    it might modify my usually laser-like focus in picking jurors?

15                MR. PRAVDA:    So I guess what I'm thinking is the

16    jurors are going to come in on Monday morning.

17                THE COURT:    Right.

18                MR. PRAVDA:    They will receive a copy of this

19    questionnaire.     They will need a little bit of time, it's not

20    a long questionnaire, maybe a half hour, at most to fill it

21    out.

22                THE COURT:    They'll fill it out before they come

23    into the courtroom, right?       I'm sorry, they will fill out the

24    questionnaire before they are brought to the courtroom, right?

25                MR. PRAVDA:    And so --

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 9 of 23 PageID #: 3477
                                    PROCEEDINGS                           9

 1                THE COURT:    Right?

 2                MR. PRAVDA:    -- the parties --

 3                THE COURT:    I'm sorry, you're not answering my

 4    question.

 5                Let me go through this.       Let me -- I'll tell you how

 6    it's going to work, and then you tell me if you have any

 7    problems with this.

 8                Before the jurors are brought into this courtroom,

 9    they will have received the questionnaire, they will have

10    filled out the questionnaire, and the Court will have the

11    filled out responses, right?       Yes?

12                MS. MACEDONIO:     I'm with you so far.

13                THE COURT:    Okay.

14                So then what happens?      Then what are you concerned

15    about?

16                MR. PRAVDA:    So I assume that the parties will have

17    copies to review.     But is it the Court's intent to let the

18    jurors go, for example, while the parties review each

19    questionnaire responses, or is it the Court's intent to do a

20    different procedure?

21                THE COURT:    Okay, let me tell you how it's going to

22    work.

23                The jurors are going to get the questionnaire,

24    they're going to fill them out, and the questionnaires will be

25    brought to the court.

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 10 of 23 PageID #: 3478
                                     PROCEEDINGS                           10

 1                The parties -- again, it's an anonymous jury, so

 2    it's just going to be jurors 1 through --

 3                What, 150, Mr. Jackson?

 4                THE COURTROOM DEPUTY:      130, Your Honor.

 5                THE COURT:    130.   Okay.

 6                So jurors 1 through 130, and that's how they'll be

 7    identified, will have filled out the questionnaire.            And

 8    you'll see what their responses are to the questionnaire.

 9                Then I will go through my usual jury voir dire at

10    30,000 feet, and then I will go through the paddle exercise,

11    which is not to be confused with any X-rated behavior, it is

12    simply, if you have an issue with respect to the following

13    item:

14                Do you know any of the lawyers or the parties to

15    this case?     If so, please raise your paddle now.        And I will

16    call out paddle number 2, 3, 18, 24, 37, whatever it is, thank

17    you.

18                Do you -- have you read anything about this

19    particular case?      And they'll raise their paddles, and I'll

20    call out the numbers.

21                And then, after we go through all the questions that

22    the Court has elected to ask, I will call each jury up by

23    paddle number.     In the past I've had to say don't refer to the

24    names, just the paddle numbers, no one's going to have the

25    name, and then I will call jury number 1 up to the sidebar.

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 11 of 23 PageID #: 3479
                                     PROCEEDINGS                         11

 1    We'll put on the white noise machine.

 2                Why don't you put it on now, Mr. Jackson, so they

 3    get a taste of it.

 4                THE COURTROOM DEPUTY:      Sure.

 5                (Mr. Jackson complies.)

 6                THE COURT:    And they will come over to the sidebar,

 7    to my left, your right, and I will say to jury number One,

 8    Sir, madam, thank you, I see you raised your paddle with

 9    respect to questions 8, 12, 18, 37, tell me what your issues

10    are with respect to it?       And they may talk about child care.

11    They may talk about job responsibilities.             They may talk about

12    vacations.     They may talk about having an issue with this type

13    of case.

14                They'll talk about whatever they wish to talk about,

15    and I will listen to what they have to say.            Only the Court

16    asks questions of the potential juror.

17                And after I have spoken with them, I will either

18    excuse them for cause, and they will then, if they are excused

19    for cause, they will be told to go back down to the second

20    floor jury room.      And if they are not excused for cause, at

21    that point they will be told to return to the jury box.

22                And once the process is complete, and we have the

23    full box, the lawyers will then have an opportunity to review

24    their notes and to exercise their peremptory strikes.            And any

25    of you who have tried cases with me before know my process in

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 12 of 23 PageID #: 3480
                                     PROCEEDINGS                         12

 1    doing that.

 2                And then we will announce the jurors who are excused

 3    and, again, also by paddle number, but that's all you're going

 4    to have in this case, in any event, it's not entirely

 5    different than what I typically do, and those jurors who are

 6    excused will be sent back to the second floor jury room, and

 7    then we will have our 12 plus four and we will administer the

 8    oath to them, and they will be given their jury badges and

 9    passes, and there we are.

10                Pretty similar to what I ordinarily do, because I

11    think, as I mentioned before, I try to avoid the opportunity

12    for what my Catholic school nuns referred to as the near

13    occasioned sin, which is to say in the modern era, people

14    reaching out to them through the internet or through

15    inadvertence and having interactions.

16                I try to make all of my juries as close to anonymous

17    as possible because I don't want our jurors to be further

18    burdened.    It's enough of an intrusion on their busy lives to

19    give jury service.      So that's how we're going to do it.         It's

20    going to be pretty smooth, I assure you.

21                MS. SHARKEY:     Sorry, Judge.    When does counsel get a

22    copy of the questionnaire, the filled-out questionnaire?

23                THE COURT:    As soon as it's filled out.        I mean, the

24    jurors aren't going to get here until Monday, right?            They're

25    going to fill it out on Monday, right?

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 13 of 23 PageID #: 3481
                                     PROCEEDINGS                         13

 1                So after they fill it out, you'll get it.          I mean,

 2    you can't get it before they fill it out?

 3                MS. SHARKEY:     So the clerk's office, I guess, is

 4    going to make copies?

 5                THE COURT:    Well, I'm not going to do it, and you're

 6    not going to do it, and the defendant is not going to do it,

 7    and the prosecutors aren't going to do it, so I guess that

 8    leaves either the district court executive or the clerk's

 9    office.    And if Mr. Corcoran is in a photocopying frame of

10    mind, he'll do it.

11                I mean, the big debate is going to be if my law

12    clerks want double-sided copies or not, because I tend to be

13    old school and as not as environmentally friendly as they are,

14    but then again, you know, they'll probably have more to do

15    with the copying exercise than I do so it will probably be

16    more PC and environmentally friendly than otherwise.

17                MS. SHARKEY:     Thank you, Judge.

18                THE COURT:    Okay.

19                Other questions about this topic?

20                MR. PRAVDA:     Your Honor, it sounds like that process

21    will take most of the day Monday.         In order for the government

22    to be able to arrange the specific travel schedules of its

23    witnesses, we request that we, whatever time we finish Monday,

24    we adjourn at that time and then come back Tuesday morning for

25    opening statements and the government's -- excuse me, the

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 14 of 23 PageID #: 3482
                                     PROCEEDINGS                         14

 1    commencement of the government's case.

 2                THE COURT:    What is the defendant's response to that

 3    request that upon the completion of jury selection, whether it

 4    takes an hour or whether it takes seven hours, we adjourn for

 5    the day?    Are you amenable to that?

 6                MS. MACEDONIO:     Yes, Your Honor.

 7                THE COURT:    Okay, since both parties are amenable to

 8    that, whom am I to disagree.        That's how we'll proceed.

 9                Other questions from the government with respect to

10    this topic or other topics?

11                MR. PRAVDA:     So just, I guess, two notes that we

12    want to point out with respect to the trial.

13                We intend -- the government intends to introduce a

14    number of items of evidence through a certification under

15    Federal Rule of Evidence 902(14), and we have given the

16    defense a copy of that certification and provided the required

17    notice under the rule.

18                We've asked defense counsel whether they will object

19    or not for planning purposes.        They've advised us they'll get

20    back to us, which is fine.       I just wanted to put that on the

21    Court's radar so that the Court is aware that we potentially

22    may be making an application to the Court.

23                It works the same way that any other certification

24    would work.     So if it's a business record certification, the

25    Court would determine whether the government's laid the

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 15 of 23 PageID #: 3483
                                     PROCEEDINGS                         15

 1    appropriate foundation and then decide whether to admit the

 2    evidence or not admit the evidence over the defendant's

 3    objection.

 4                THE COURT:    Well, let me ask you, at this point are

 5    you prepared to file the documents that you have provided to

 6    defense counsel so the Court will have the benefit of having

 7    seen them now as opposed to seeing them some time on Monday?

 8                MR. PRAVDA:     I'm happy to do that, Your Honor.

 9                The one sort of caveat is that these are audio

10    files, and so what I could do is I could give the Court a copy

11    of the certification, and then I could provide the Court with

12    a disc that contains the audio files as well as some text

13    messages that will all come in through the certification.

14                THE COURT:    You're going to provide to the Court

15    what you've provided to defense counsel, correct?

16                MR. PRAVDA:     Okay.   I can do that today.

17                And I already provided that to defense counsel.

18    I'll give the Court the copy of the same thing.

19                THE COURT:    Any objection to the Court seeing what

20    defense counsel has already seen?

21                MS. MACEDONIO:     Absolutely not.

22                THE COURT:    All right, so that way I'll be in a

23    position, sooner rather than later, to make what passes from

24    have Court as an informed decision, rather than making a

25    decision on the fly, as it were.

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 16 of 23 PageID #: 3484
                                     PROCEEDINGS                         16

 1                So you'll submit that to the Court today, obviously

 2    on notice to defense counsel so I'll have what she's having.

 3                All right.    What else?

 4                MR. PRAVDA:     And then we have also been discussing

 5    with defense counsel a number of proposed stipulations, and

 6    we're going to continue those discussions, and hopefully the

 7    parties will be able to advise the Court on Monday morning.

 8                We have streamlined the presentation of evidence,

 9    because there are a number of things that we have been able to

10    agree upon.

11                THE COURT:    Well, I always encourage the parties, to

12    the extent they can, stipulate.        You have only to look at me

13    to realize that my ability to streamline has been somewhat

14    limited in my life, but I do the best I can.

15                MR. PRAVDA:     And then the last item, Your Honor,

16    there were certain things that the Court had requested during

17    the conference on Monday that the government get back to you

18    with respect to today.

19                And so one of those issues was the defense's request

20    for immigration documents, and so I'm going to ask Mr. Haggans

21    to address that.

22                THE COURT:    This is the so-called A-File, among

23    other documents; is that correct?

24                MR. HAGGANS:     That's correct, Your Honor.

25                THE COURT:    Okay.    Fire aware.

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 17 of 23 PageID #: 3485
                                     PROCEEDINGS                         17

 1                MR. HAGGANS:     So as a consequence of the Court's

 2    request, the government did reach out to Immigration and

 3    Customs Enforcement.      We did receive those A-Files earlier

 4    today.    We've not yet had the opportunity to review them, but

 5    I have discussed with defense counsel prior to this appearance

 6    what the government intends to do.

 7                Based on the representations made to us by persons

 8    at ICE, who are more familiar with the file, it's our

 9    expectation that the vast majority of its contents, while we

10    don't think they constitute -- we don't expect them to

11    constitute 3500, or Brady, or Giglio information that has not

12    been already disclosed to the defense, we expect we're going

13    to be able to take a quick look through those materials, scan

14    them up, and provide them for both the two witnesses.

15                ICE has alerted us that there is a small corpus for

16    each individual that does raise particular law enforcement

17    sensitivities.     I don't know what those sensitivities are

18    right now.

19                What we intend to do is to review those documents,

20    and if they contain 3500, Brady, or Giglio information that

21    either has not been disclosed or is in some way different from

22    what has already been disclosed, we will find a way to

23    disclose that information; perhaps not in the underlying

24    documents, but a letter or something to that effect.            And that

25    is what the government hopes to complete as expeditiously as

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                              Official Court Reporter
Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 18 of 23 PageID #: 3486
                                     PROCEEDINGS                         18

 1    possible.

 2                THE COURT:    What is your timetable for completing

 3    that?

 4                MR. HAGGANS:     I am hopeful it can be completed by

 5    the end of the day.

 6                THE COURT:    By the end of today?

 7                MR. HAGGANS:     By the end of today, Your Honor.        I --

 8    I cannot promise that result.        I think given --

 9                THE COURT:    But you can promise it will be completed

10    by noon tomorrow, correct?       Or I could order it.      Which would

11    you prefer?

12                MR. HAGGANS:     I will endeavor to complete it by

13    today, but I will complete it by noon tomorrow.

14                THE COURT:    I'll order it to be completed on or

15    before noon tomorrow so there's no confusion about what the

16    deadline is.

17                And then when you receive it, defense counsel, on or

18    before noon tomorrow, if you're satisfied with it, then you're

19    satisfied with it and you don't have to tell the Court you're

20    satisfied with it; if you're satisfied with it, you're

21    satisfied with it.

22                If you're dissatisfied with it, you have an

23    obligation to tell the Court promptly what it is you're

24    dissatisfied about and what you would suggest be done.             I will

25    read your objections, if you will, and the government will

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                              Official Court Reporter
Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 19 of 23 PageID #: 3487
                                     PROCEEDINGS                           19

 1    respond, and then I will rule.

 2                MS. MACEDONIO:     Thank you, Your Honor.

 3                MS. SHARKEY:     Thank you, Judge.

 4                THE COURT:    You're welcome.

 5                MR. PRAVDA:     That's it from the government today,

 6    Your Honor.

 7                THE COURT:    All right.

 8                Anything else from defense counsel?

 9                MS. SHARKEY:     Judge, we have just one issue that we

10    need the Court's decision on.

11                THE COURT:    Yes.

12                MS. SHARKEY:     We've been provided with a witness,

13    Agent Ryan Singer, who is integral to the investigation.

14                The government is calling him for a particular

15    portion of the event, primarily, I believe, based on the

16    disclosure that they gave to us, the arrest of Saidakhmetov at

17    the airport.

18                The government has only provided us with the 3500

19    material that pertains to the arrest at the airport.            We

20    object to that.

21                THE COURT:    What do you want that they haven't given

22    you?

23                MS. SHARKEY:     We want his full 3500 material in

24    relation to this investigation.

25                THE COURT:    What do they -- what do you want that

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 20 of 23 PageID #: 3488
                                     PROCEEDINGS                         20

 1    they have not given you?       You told me -- you've characterized

 2    it --

 3                MS. SHARKEY:     Okay.

 4                THE COURT:    -- what do you think you're not getting?

 5                MS. SHARKEY:     Every 302 in which he participated in

 6    during the course of this investigation.

 7                THE COURT:    Regarding any and all defendants?

 8                MS. SHARKEY:     Yes.

 9                THE COURT:    What is your response to that request?

10                MR. PRAVDA:     Your Honor, that goes beyond what

11    18 U.S.C. 3500 requires the government to do.

12                Miss Sharkey correctly advised the Court, as we

13    informed her, that we intend to call Agent Singer for the

14    limited purpose of testifying about the arrest of codefendant,

15    Saidakhmetov at JFK Airport on February 25th, 2015, and the

16    fact that when Saidakhmetov was searched, $1600 was recovered

17    from his pocket.

18                As the Court will recall, that's money that the

19    defendant handed to Saidakhmetov earlier that evening at the

20    airport.    That's the only purpose for which we're calling

21    Agent Singer.     The subject matter of the testimony will

22    encompass merely a 20-minute period, perhaps less, on

23    February 25th, 2015.

24                So 18 U.S.C. 3500(b) specifically states that the

25    government is to produce any statement that the witness in the

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 21 of 23 PageID #: 3489
                                     PROCEEDINGS                         21

 1    possession of United States which relates to the subject

 2    matter as to which the witness has testified.

 3                And I've done a little cursory research after

 4    Ms. Sharkey raised this issue yesterday with the government,

 5    and it's clear from the case law that that section of 3500(b)

 6    is limited to exactly what it says, the subject matter of the

 7    witness' testimony, not broader information about the case

 8    which is on trial or anything like that.

 9                THE COURT:    All right.     Well, I'll tell what you I

10    will do.    I will allow the parties, if you wish, to brief that

11    particular issue.      You have until 5:00 today to submit

12    simultaneous briefs on the issue.

13                It seems to be a fairly narrow and focused one, if

14    you're talking about this one agent and what he did, and I

15    will take your submissions under advisement and I will issue a

16    ruling.

17                I gave you guys a noon tomorrow deadline, and I'll

18    impose that on myself, and more importantly on my law clerks.

19    So we will issue a decision.

20                If you wish to brief it today, get the briefs in by

21    5.   I will promise you a written decision with respect to that

22    application by noon tomorrow on that issue for that agent.

23                Okay?

24                MS. SHARKEY:     Understood.

25                THE COURT:    Okay.    Other items?

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 22 of 23 PageID #: 3490
                                     PROCEEDINGS                         22

 1                MS. MACEDONIO:     May we have one moment, Your Honor.

 2                THE COURT:    Of course.

 3                (Pause.)

 4                MS. MACEDONIO:     We're fine, Your Honor.       Thank you

 5    very much.

 6                THE COURT:    Thank you, Miss Macedonio.

 7                Thank you, Miss Sharkey.

 8                Thank you, gentlemen.

 9                Is there anything else?

10                MR. HAGGANS:     Not from the government, Your Honor,

11    thank you.

12                THE COURT:    Very well.     I look forward to receiving

13    your briefs, and I look forward to seeing you on Monday

14    morning at 9:30 a.m.

15                MS. MACEDONIO:     Just one additional question.

16                THE COURT:    Ah, Columbo, just one more.

17                MS. MACEDONIO:     Just one more.

18                THE COURT:    Yes, go ahead.

19                MS. MACEDONIO:     Will we be sitting on Fridays, Your

20    Honor?

21                THE COURT:    Oh, yes.    Yes.

22                MS. SHARKEY:     Actually, another question.

23                Do you run the calendar, the trial through 5:00;

24    9:30 to 5 every day?

25                THE COURT:    Brutally.

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Case 1:15-cr-00095-WFK Document 450 Filed 02/10/20 Page 23 of 23 PageID #: 3491
                                      PROCEEDINGS                         23

 1                MS. SHARKEY:       Okay.

 2                THE COURT:       Ruthlessly starting at 9:30, and even

 3    more ruthlessly ending the day at 5, no matter what brilliant

 4    examination is in medias res, to use the Latin phrase, and I

 5    apologize in advance for cutting you off just as you're about

 6    to come to your momentous brilliant point at 5:00 on any given

 7    day, but you'll have to hold that thought until the next

 8    morning.

 9                Because see that big clock there?           The jurors will

10    be looking right at that clock, and at about ten minutes to 5,

11    the jurors will start looking at me to see if I'm going to

12    keep my promise to them.         I always keep my promises to my

13    juries.    They love me.       And that's why.

14                MS. SHARKEY:       All right.   Thank you, Judge.

15                THE COURT:       Very well.    Anything else?

16                MR. PRAVDA:       Nothing else.     Thank you, Your Honor.

17                THE COURT:       Thank you.    We're adjourned.

18

19                (Whereupon, the matter was concluded.)

20

21                             *      *      *    *     *

22    I certify that the foregoing is a correct transcript from the
      record of proceedings in the above-entitled matter.
23

24          s/ Linda D. Danelczyk                           September 15, 2019

25             LINDA D. DANELCZYK                              DATE

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                              Official Court Reporter
